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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

 WESTERN WATERSHEDS PROJECT,                 Case No. 1:16-cv-00083-BLW
 et al.,
         Plaintiffs,                         DEFENDANTS’ NOTICE OF
                                             PRELIMINARY INJUNCTION APPEAL
          vs.

 DAVID BERNHARDT, Secretary of the
 Interior, et al.,

           Defendants.




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                       NOTICE OF PRELIMINARY INJUNCTION APPEAL

       PLEASE TAKE NOTICE that the Defendants – David Bernhardt, in his official capacity

as Secretary of Interior, Casey Hammond, in his official capacity as Acting Assistant Secretary,

Lands and Minerals Management, Department of Interior, the United States Bureau of Land

Management (“BLM”), and the United States Forest Service – hereby appeal to the United States

Court of Appeals for the Ninth Circuit from this Court’s October 16, 2019 Memorandum

Decision and Order granting Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 189), as

well as all prior orders and decisions that merge into that Order, including this Court’s October 2,

2019 Memorandum Decision and Order denying Defendant’s Motion to Dismiss for Improper

Venue or, in the Alternative, to Sever and Transfer Plaintiffs’ Claims (ECF No. 188), and this

Court’s May 2, 2019 Memorandum Decision and Order granting Plaintiffs’ Motion to File a

Supplemental Complaint (ECF No. 138).

       Respectfully submitted this 16th day of December, 2019.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of December, 2019, I filed a copy of the foregoing
Defendants’ Notice of Appeal electronically through the CM/ECF system, which caused all
parties or counsel of record to be served by electronic means, as more fully reflected on the
Notice of Electronic Filing.

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